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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

   Nintendo of America Inc.
   Plaintiff,
   v.                                            Case No.: 1:24−cv−00082−JJM−LDA

   Tropic Haze LLC
   Defendant.


                                   CASE OPENING NOTICE

           The above−captioned case has been opened pursuant to Rule 3 of the Federal
   Rules of Civil Procedure. The above case number and caption should be used on all
   papers subsequently submitted to this Court.
            The plaintiff is responsible for having the summons and complaint served within
   the time allowed by Fed. R. Civ. P. 4(m). If not already filed with the complaint, the
   plaintiff should file a completed summons with the Clerk of Court for signature and seal.
   Unless service is waived, proof of service of a summons must be filed with the Court
   within 14 days after service as outlined in LR Cv 5.1(a). Failure to do so may result in
   dismissal for lack of diligent prosecution. See: LR Cv 41.
           Counsel representing a nongovernmental corporate party must file a corporate
   disclosure statement with the first document filed with the Court, and properly file a
   supplemental statement if any required information changes. See: Fed. R. Civ. P.
   7.1(a)(1).
            Additionally, if this is an action in which jurisdiction is based on diversity under 28
   U.S.C. §1332(a), a disclosure statement that names and identifies the citizenship of all the
   party or parties must be filed. If the party is an LLC, the disclosure statement must name
   the citizenship of any member of the LLC through however many layers of members or
   partners there may be. See: Fed. R. Civ. P. 7.1(a)(2).
            Parties are encouraged to exchange disclosures immediately and to commence
   discovery. A case management scheduling conference will be set as soon as practicable
   after an answer is filed.
           Dockets, opinions, rules forms, the court calendar and general notices can be
   obtained from the Court's website at www.rid.uscourts.gov. Parties should specifically
   review the notice(s) listed below:
              Notice of Electronic Availability of Case Information
              Notice to Counsel and Pro Se Litigants
              Guidance Regarding Motions to Seal in Civil Cases
              Preventing Third−Party Services' Access to Restricted Information in CM/ECF
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         If you wish to inquire about your case by telephone, please contact the case
   manager at the direct extension listed below.




   February 27, 2024                            Hanorah Tyer−Witek, Clerk of Court


   U.S. District Court
   for the District of Rhode Island
   One Exchange Terrace
   Providence, RI 02903
   Case Manager: Ryan Jackson 401−752−7213
